Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-13 Filed04/28/17
                                307-9 Filed 06/12/17 Page
                                                     Page11of
                                                           of55




               EXHIBIT
Waymo vs. Uber: 8 Things I Learned from Anthony Levandowski Taking the Fifth - IEE... Page 1 of 4
        Case
         Case3:17-cv-00939-WHA
               3:17-cv-00939-WHA Document
                                       Document589-13   Filed04/28/17
                                                 307-9 Filed  06/12/17 PagePage22of of55


Waymo vs. Uber: 8 Things I Learned from Anthony Levandowski Taking
the Fifth

By Mark Harris (/author/mark-harris)
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In




         Photo-illustration: IEEE Spectrum; Photo: Andrej Sokolow/AP Photo




February, Googles self-driving car spin-out Waymo accused Anthony Levandowski
(http://spectrum.ieee.org/cars-that-think/transportation/self-driving/what-waymo-wants-from-its-trade-secret-
fight-with-uber) of stealing 14,000 confidential files about the laser-ranging lidars developed while he was
working there and taking them to Uber. On Friday 14 April, the engineer sat down in the San Francisco office of
Waymos lawyers to face six hours of hard questioning.

When asked what his current responsibilities were at Uber, Levandowski took the 5th, citing his right under the
U.S. Constitutions Fifth Amendment not to answer questions that might incriminate him. He plead it again to
questions about whether he stole the files, and again when asked if he subsequently used the files to build lidars
for Uber. In fact, he took the 5th over 400 times in the course of the day.




http://spectrum.ieee.org/cars-that-think/transportation/self-driving/waymo-vs-uber-8-things...
Waymo vs. Uber: 8 Things I Learned from Anthony Levandowski Taking the Fifth - IEE... Page 2 of 4
        Case
         Case3:17-cv-00939-WHA
               3:17-cv-00939-WHA Document
                                       Document589-13   Filed04/28/17
                                                 307-9 Filed  06/12/17 PagePage33of of55


The transcript of the deposition, released on Friday, is predictably repetitious. Despite that, it is one of the most
illuminating documents to emerge from the lawsuit so far, revealing Googles early suspicions of Levandowski,
details about key suppliers, previously secret code-names, and technical details of the lidars in question. Heres
what I learned, and how:



1. Questions can be just as informative as answers

Although Levandowskis answers were identical, I learned a lot from Waymos questions. It seems Waymo now
thinks that Levandowski was deceiving Google almost from the moment it hired him to work on Street View maps
project back in 2007. Google first had concerns when it found out that Levandowski was working with his own
start-ups, 510 Systems and Anthonys Robots, to build a self-driving car, as first revealed in IEEE Spectrum
(http://spectrum.ieee.org/robotics/artificial-intelligence/the-unknown-startup-that-built-googles-first-
selfdriving-car).

When Google discovered that you were involved in 510 Systems and Anthonys Robots, it was concerned about
potential conflicts, said Waymos lawyer, David Perlson. You used confidential information from Google to help
develop technology at 510 Systems; correct? He went on to accuse Levandowski of using Street View code to
calibrate 510s Velodyne lidar, and in the start-ups self-driving car technology.



2. Levandowski names his lidars after mountains

Perlson said that the lidar Levandowski built at 510 Systems was called Little Bear, after a mountain in Colorado.
The Fuji system at Uber is named after Mount Fuji, he went on. And the reason that the Fuji system at Uber is
named after Mount Fuji is that it is derived from Google technology that was also code named with names of
mountains. Perlson revealed Googles lidars are all named Grizzly Bear, probably after Grizzly Peak in Berkeley,
where 510 Systems was based. The latest Waymo lidar is called Grizzly Bear 3 or GBR3.



3. The side hustles kept coming

Perlson accused Levandowski of controlling a company called Dogwood Leasing
(http://www.buzzfile.com/business/Dogwood-Leasing,-LLC-510-919-6668) that hired ex-Google contractor and
510 Systems engineer Asheem Linaval (https://www.linkedin.com/in/asheem-linaval-44616122/) to use Googles
secrets to develop self-driving car technology. Linaval was eventually hired to Levandowskis autonomous truck
start-up Otto, which Uber bought in 2016.

Waymo also accused Levandowski of founding yet another start-up, Odin Wave and feeding it confidential lidar
technology. In 2013, one of Googles suppliers called Google because it had received an order from Odin Wave that
was similar to parts used by the technology giant. Perlson accused Levandowski of then moving Odin Wave and
renaming the company Tyto (https://www.linkedin.com/company-beta/3819974/?pathWildcard=3819974), to
hide his involvement.



4. Be careful what you file




http://spectrum.ieee.org/cars-that-think/transportation/self-driving/waymo-vs-uber-8-things...
Waymo vs. Uber: 8 Things I Learned from Anthony Levandowski Taking the Fifth - IEE... Page 3 of 4
        Case
         Case3:17-cv-00939-WHA
               3:17-cv-00939-WHA Document
                                       Document589-13   Filed04/28/17
                                                 307-9 Filed  06/12/17 PagePage44of of55


The 184-page transcript of Levandowskis deposition was heavily redacted by Waymos and Ubers lawyers to
obscure commercially sensitive information. But unique among the courts filings, the transcript included an
index that had been generated before the redactions were made. By cross-referencing the redactions with the
index, I was able to uncover almost every word that the companies did not want made public.

For instance, I discovered that the company supplying both Google and Odin Wave with lidar components was
OMW Corporation (http://www.omwcorp.com/), a high-tech contract manufacturing business based in the Bay
Area.



5. A shared supplier ecosystem

Perlson then asked Levandowski: Did Otto select third-party vendors because of their knowledge of Googles
confidential technology? Uncovering the redactions reveals that Perlson asked whether Otto had ever used three
particular optical component companies while developing its laser technology. It seems likely that these are key
suppliers for Waymos lidar.

The issue came up again in reference to Uber. In December 2015, another supplier, which redactions reveal to be
Gorilla Circuits (https://www.gorillacircuits.com/), accidentally sent an email intended for Uber engineers to a
Waymo employee. The email included a circuit design for a lidar that Waymo believes replicates its secret
technology.



6. An Owl and a Spider lidar

You used confidential information from the 14,000 files you took from Google to develop lidar at Uber; correct?
Perlson asked Levandowski during the deposition. He went on to name three specific devices: the Fuji lidar that
Uber is working on now; the Owl lidar built by Tyto; and, redactions reveal, a previously unknown lidar called
Spider.

Spider is the pre-Fuji design that Waymo recently accused Uber of hiding, and whose existence first emerged from
a filing Uber made with Nevada regulators in November. Waymo believes Spider to be essentially a copy of its
Grizzly Bear 3 lidar.



7. Technical similarities

The redactions also show the specific technical details in Ubers Fuji lidar design that Waymo thinks it can trace
back to its own patents and trade secrets (http://spectrum.ieee.org/cars-that-think/transportation/self-
driving/what-waymo-wants-from-its-trade-secret-fight-with-uber).

Waymo sees similarities in the spacing and placement of diodes on the Fujis printed circuit boards (PCBs),
including having tiny diodes hanging on the edge of the PCB. It also suspects that a cylindrical lens assembly and
guide holes for pins are derived from confidential information that Levandowski took from Google.

In addition, Perlson asked Levandowski about Ubers progress on ion-doped laser fibers for lidars, which both
companies are working on.




http://spectrum.ieee.org/cars-that-think/transportation/self-driving/waymo-vs-uber-8-things...
Waymo vs. Uber: 8 Things I Learned from Anthony Levandowski Taking the Fifth - IEE... Page 4 of 4
        Case
         Case3:17-cv-00939-WHA
               3:17-cv-00939-WHA Document
                                       Document589-13   Filed04/28/17
                                                 307-9 Filed  06/12/17 PagePage55of of55


8. Levandowskis early life

Finally, Perlson let Ubers lawyers ask Levandowski a few questions that he was prepared to answer, mostly about
his life and work outside Google and Uber. His responses show that Levandowskis entrepreneurship started at an
early age, selling candy to fellow students in high school, then building a website to navigate photos of the school
buildings.

He made his first self-driving vehicle using Java and Lego Mindstorms at UC Berkeley, before building a (partly)
self-driving motorcycle for DARPAs Grand Challenge competition in 2004
(http://spectrum.ieee.org/robotics/military-robots/sand-trap) . He also claimed to have worked on Velodynes
first commercial lidar. After the [second Grand Challenge], I helped them get their unit from the early, early
prototype that just outputted video data into outputting Ethernet packets so that others could use it, said
Levandowski.



 A judge ruled Tuesday that Levandowskis Fifth Amendment rights did not extend to documents that Uber
controls.

The next milestone in the epic lawsuit is a hearing on 3 May to decide Waymos request for a preliminary
injunction to halt Ubers self-driving car efforts. That could be all the more critical for Uber, given that Waymo
just announced that it would expand its trial of autonomous minivans in Arizona to over 500 vehicles
(http://spectrum.ieee.org/cars-that-think/transportation/self-driving/waymo-offers-robocar-rides-to-the-
public).




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